     Case 2:23-cr-00149-APG-BNW                    Document 102   Filed 06/03/25   Page 1 of 5



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 6    Attorneys for Defendant Boruchowitz

 7
                                       UNITED STATES DISTRICT COURT
 8
                                            DISTRICT OF NEVADA
 9
       UNITED STATES OF AMERICA,
10
                                   Plaintiff,                      2:23-cr-0149-APG-BNM
11
       v.                                                         Stipulation To Continue
12                                                                Sentencing and Proposed Order

13
       DAVID E. BORUCHOWITZ,
14
                                   Defendant.
15

16           The undersigned parties respectfully submit the following Stipulation and Proposed

17    Order for the Court’s consideration.

18           IT IS HEREBY STIPULATED AND AGREED, by and between undersigned counsel

19    for the government and undersigned counsel for the defendant, David E. Boruchowitz, that

20    the sentencing date of June 10, 2025, be vacated and continued to July 15, 2025, or such

21    other date convenient to the Court after July 12, 2025.

22            This Stipulation is entered into for the following reasons:

23            1.       On May 5, 2025, the Department of Probation (the “Department”) served on

24    the parties its Presentence Investigation Report (“PSR”).

                                                             1
      ClarkHill\M1816\473442\282294184.v1-6/2/25
     Case 2:23-cr-00149-APG-BNW                    Document 102   Filed 06/03/25   Page 2 of 5



 1            2.       On May 12, 2025, the Defendant submitted extensive objections to the PSR in

 2    a fifteen (15) page letter that also contained four exhibits. On May 19, 2025, the government

 3    submitted its objections to the PSR.

 4            3.       On May 30, 2025, at approximately 3:19 pm, the Department served its revised

 5    PSR. Because Defendant’s Sentencing Memorandum would be due on June 3, 2025, and

 6    because the Defendant continues to have substantial objections to both the guideline

 7    calculations contained in the PSR and the substance of several paragraphs in the PSR, the

 8    Defendant would have insufficient time to prepare an adequate Sentencing Memorandum.

 9            4.       A carefully prepared Sentencing Memorandum is crucial to the adequate

10    defense of Mr. Boruchowitz. The additional time requested herein is necessary to afford

11    counsel additional time to prepare the defendant’s Sentencing Memorandum.

12            5.       The parties have conferred with the Court’s Courtroom Deputy who

13    recommended that July 15, 2025 is most convenient date for the Court for the sentencing

14    hearing. Counsel for the defendant will be out of the district for pre-paid travel between July

15    2, 2025 and July 12, 2025.

16            6.       The defendant is not in custody and agrees to this continuance.

17    //

18    //

19    //

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      ClarkHill\M1816\473442\282294184.v1-6/2/25
     Case 2:23-cr-00149-APG-BNW                    Document 102     Filed 06/03/25     Page 3 of 5



 1            7.       This is the first request to continue sentencing in this case.

 2            WHEREFORE, the parties respectfully request that the Court accept this Stipulation

 3    and enter an Order, vacating the present sentencing hearing set for June 10, 2025, and

 4    continuing it until July 15, 2025, or such other time convenient to the Court.

 5            DATED this 2nd day of June 2025.

 6                                                  Respectfully submitted,

 7
      SIGAL CHATTAH
 8    Interim United States Attorney

 9    /s/ Steven W. Myhre                                               /s/ Crane M. Pomerantz
      _____________________________                                     ___________________________
10    STEVEN W. MYHRE                                                   CRANE M. POMERANTZ
      JUSTIN WASHBURNE                                                  AUSTIN BARNUM
11    Assistant United States Attorneys

12    Attorneys for the United States                                   Attorneys for Defendant

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      ClarkHill\M1816\473442\282294184.v1-6/2/25
     Case 2:23-cr-00149-APG-BNW                    Document 102   Filed 06/03/25   Page 4 of 5



 1                                     UNITED STATES DISTRICT COURT
                                            DISTRICT OF NEVADA
 2

 3     UNITED STATES OF AMERICA,
 4                               Plaintiff,                        2:23-cr-0149-APG-BNW
 5     v.
                                                                  ORDER
 6
       DAVID E. BORUCHOWITZ,
 7
                                   Defendant.
 8

 9            This matter coming on the parties’ Stipulation to Continue Trial, the Court having

10    considered the premises therein, and for good cause shown, the Court accepts the Stipulation

11    and FINDS as follows.

12            1.       On May 5, 2025, the Department of Probation (the “Department”) served on
13    the parties its Presentence Investigation Report (“PSR”).
14            2.       On May 12, 2025, the Defendant submitted extensive objections to the PSR in
15    a fifteen (15) page letter that also contained four exhibits. On May 19, 2025, the government
16    submitted its objections to the PSR.
17            3.       On May 30, 2025, at approximately 3:19 pm, the Department served its revised
18    PSR. Because Defendant’s Sentencing Memorandum would be due on June 3, 2025, and
19
      because the Defendant continues to have substantial objections to both the guideline
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      calculations contained in the PSR and the substance of several paragraphs in the PSR, the
21
      Defendant would have insufficient time to prepare an adequate Sentencing Memorandum.
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              4.       A carefully prepared Sentencing Memorandum is crucial to the adequate
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      defense of Mr. Boruchowitz. The additional time requested herein is necessary to afford
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      counsel additional time to prepare the defendant’s Sentencing Memorandum.

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      ClarkHill\M1816\473442\282294184.v1-6/2/25
     Case 2:23-cr-00149-APG-BNW                    Document 102    Filed 06/03/25   Page 5 of 5



 1            8.       The parties have conferred with the Court’s Courtroom Deputy who

 2    recommended that July 15, 2025 is most convenient date for the Court for the sentencing

 3    hearing. Counsel for the defendant will be out of the district for pre-paid travel between July

 4    2, 2025 and July 12, 2025.

 5            5.       The defendant is not in custody and agrees to this continuance.

 6            IT IS THEREFORE ORDERED:

 7            1. The present sentencing hearing scheduled for June 10, 2025 is VACATED and

 8                 CONTINUED;

 9            2. The sentencing hearing is rescheduled for July 15, 2025 at 9:30am; and

10            3. Defendant shall submit his Sentencing Memorandum at least seven (7) days prior

11                 to the new sentencing date.

12            IT IS SO ORDERED this 3rd day of June 2025.

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14                                                               _______________________________
                                                                 ANDREW P. GORDON
15                                                               CHIEF UNITED STATES DITRICT JUDGE

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